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10
     Attorneys for Plaintiff,
11   SHAWN BEDWELL
12
13                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA
14
15
     SHAWN BEDWELL, an individual,                 Case No. '22CV83      TWR WVG
16
               Plaintiff,
17
         v.
18                                                 COMPLAINT FOR VIOLATIONS
     VALLEY BROOK LLC, a California                OF: AMERICANS WITH
19
     limited liability company; and DOES 1-        DISABILITIES ACT OF 1990, 42
20   10,                                           U.S.C. § 12181, et seq.; UNRUH
                                                   CIVIL RIGHTS ACT, CALIFORNIA
21
                Defendants.                        CIVIL CODE § 51, et seq.
22
23                                                 DEMAND FOR JURY TRIAL
24
25
26                   Most Americans will become disabled at some point in life.
27
              Plaintiff Shawn Bedwell (hereinafter referred to as “Plaintiff,”) complains of
28

                                           COMPLAINT
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 1   Valley Brook LLC, a California limited liability company; and Does 1-10 (each,
 2
     individually a “Defendant,” and collectively “Defendants”), and alleges as follows:
 3
 4                                      I.    PARTIES

 5         1.     Shawn Bedwell is paralyzed. His life path was changed by a back
 6
     surgery which had a bad outcome, resulting in permanent and debilitating nerve
 7
 8   damage to his spinal column. Plaintiff needs a wheelchair or walker for mobility.
 9   His ability to move objects with his upper body are also impaired. Plaintiff is a
10
     disabled person entitled to the protections of the California Unruh Civil Rights Act
11
12   (UCRA) (see Cal. Civ. Code §§ 51, et seq., 52, et seq.), the Americans with
13   Disabilities Act (ADA) (see 42 U.S.C. § 12102, et seq.), and other statutory laws
14
     which protect the rights of “disabled persons.” Plaintiff has been issued a blue
15
16   Disabled Person Parking Placard, by the State of California. Plaintiff is a
17   California resident with physical disabilities.
18
           2.     Defendant Valley Brook LLC, a California limited liability company;
19
20   owned the property (the “Property”), located at 502 S. Main Ave., Fallbrook, CA
21
     92028.
22
           3.     There is a business establishment on the Property named “Village
23
24   Spirit Shop,” “the business”).
25
           4.     The business is a public accommodation as defined by 42 U.S.C. §
26
     12181(7).
27
28
                                          2
                                      COMPLAINT
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 1         5.     DOES 1 through 10 were at all relevant times lessors, lessees, property
 2
     owners, subsidiaries, parent companies, affiliates, employers, employees, agents,
 3
 4   corporate officers, managers, principles, and/or representatives of Defendants.

 5   Plaintiff is unaware of the true names and capacities of Defendants sued herein as
 6
     DOES 1 through 10, inclusive, and, therefore, sues those Defendants by fictitious
 7
 8   names. Plaintiff requests that the Court grant leave to amend this complaint to
 9   allege the true names and capacities when determined by whatever source.
10
           6.     Defendants, at all relevant times, were relevant to this action; were the
11
12   owners, franchisees, franchisors, lessees, lessors, general partners, limited partners,
13   agents, affiliates, employees, employers, representative partners, subsidiaries,
14
     partner companies, and/or joint venturers of the remaining Defendants; and were
15
16   acting within the course and scope of that relationship. Upon information and
17   belief, Plaintiff alleges that each of the Defendants gave consent to, ratified, and/or
18
     authorized the acts alleged of each of the remaining Defendants.
19
20         7.     Plaintiff visited the public accommodations owned, leased, and/or
21
     operated by Defendants with the intent to purchase and/or use the goods, services,
22
     facilities, privileges, advantages, and/or accommodations offered by Defendants.
23
24                           II.    JURISDICTION & VENUE
25         8.     This Court has subject matter jurisdiction over this action pursuant to
26
     28 U.S.C. § 1331 and 28 U.S.C. § 1343(a)(3) & (a)(4) for violations of the ADA.
27
28
           9.     Pursuant to supplemental jurisdiction, an attendant and related cause of
                                          3
                                      COMPLAINT
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 1   action, arising from the same nucleus of operative facts, and arising out of the same
 2
     transactions, is also brought under the UCRA, which expressly incorporates the
 3
 4   ADA.

 5          10.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because
 6
     the real property which is the subject of this action is located in this district, and
 7
 8   Plaintiff’s cause of action arose in this district.
 9                                         III.   FACTS
10
            11.    The Property is a facility which is open to the public and includes
11
12   business establishments.
13          12.    The Property has been newly constructed and/or underwent
14
     remodeling, repairs, or alterations after January 26, 1992. Defendants have failed
15
16   to comply with California access standards which applied at the time of each new
17   construction and/or alteration, and/or failed to maintain accessible features in
18
     operable working condition.
19
20          13.    Plaintiff visited the Property during the relevant statutory period on
21
     two (2) separate occasions, in October 2021 and November 2021 to patronize the
22
     business on the Property.
23
24          14.    Defendants did not offer persons with disabilities with equivalent
25
     facilities, privileges, and advantages offered by Defendants to other patrons.
26
            15.    Plaintiff encountered barriers, both physical and intangible, that
27
28
                                            4
                                        COMPLAINT
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 1   interfered with, and denied, Plaintiff the ability to use and enjoy the goods, services,
 2
     privileges, and/or accommodations offered at the Property.
 3
 4         16.    Parking is one of the facilities, privileges, and advantages offered by

 5   Defendants to patrons of the Property.
 6
           17.    However, there was no accessible parking for disabled patrons at the
 7
 8   Property. The parking space(s) designated for disabled persons did not comply
 9   with the ADA.
10
           18.    The parking area did not comply with the applicable California
11
12   Building Code (CBC).
13         19.    When Plaintiff visited the Property, he experienced access barriers
14
     related to parking, signage, entryway, paths of travel, and restroom.
15
16         20.    Plaintiff encountered the following barriers, conditions, and/or
17   violations at the Property:
18
           The property which serves Village Spirit Shop has violations of the
19
20         ADAAG which are barriers to somebody like Plaintiff. There are
21
           problems related to damaged and uneven surfaces. Some of the
22
           pavement distresses are from damage (such as cracks in the asphalt),
23
24         some from bad design or installation (for example uneven pavement).
25
           There are violations inside Village Spirit Shop also. There is no clear
26
           floor space within the business. There are many other problems as well.
27
28
                                          5
                                      COMPLAINT
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 1        VIOLATION of 1991 ADAS § 4.3.2(1); 2010 ADAS § 206.2.1; 2010 CBC
 2
          § 1114B.1.2; 2019 CBC § 11B-206.2.1. (Exterior route of travel.) An
 3
 4        accessible route of travel is not provided to all entrances and portions of the

 5        building, to all entrances of the Property, and/or between the building and a
 6
          public way. Plaintiff needs a dedicated path of travel, free of obstructions
 7
 8        and vehicles, where (on which) Plaintiff can travel. It is dangerous for
 9        Plaintiff to navigate without a safe, protected, accessible route of travel; thus,
10
          the violation interferes with Plaintiff’s ability to fully access the premises.
11
12
13
14
          VIOLATION of 1991 ADAS §§ 4.1.2(1), 4.3.2(1); 2010 ADAS §§ 206.1,

15        206.2, 206.2.1, 206.2.2, 206.2.4; 2010 CBC § 1114B.1.2; 2010 CBC §
16
          1127B.1; 2019 CBC §§ 11B-206.2.1, 11B-206.2.2, 11B-206.2.4.
17
18        (Accessible route of travel.) At least one accessible route shall be provided

19        within the site from accessible parking spaces and accessible passenger
20
          loading zones; public streets and sidewalks; and public transportation stops to
21
22        the accessible building or facility entrance they serve. At least one accessible

23        route shall connect accessible buildings, accessible facilities, accessible
24
          elements, and accessible spaces that are on the same site. The requisite
25
26        accessible route of travel is not provided. There is no accessible route of

27        travel from the designated disabled parking spaces, adjacent access aisle to
28
                                         6
                                     COMPLAINT
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 1        the business/building entrance. Plaintiff needs an accessible route of travel,
 2
          with level and smooth ground, free of obstructions and vehicles, whereupon
 3
 4        Plaintiff can ambulate. It is dangerous for Plaintiff to travel these areas

 5        without a safe, protected, accessible route of travel; thus, the violation
 6
          interferes with Plaintiff’s ability to fully access the premises. The lack of a
 7
 8        safe and accessible route, with a smooth and level surface, denied Plaintiff
 9        full and equal use or access during each of Plaintiff’s visits by making it
10
          difficult/ harder for Plaintiff to traverse.
11
12
13        VIOLATION of 1991 ADAS § 4.1.2(7); 2010 ADAS § 216.6; 2010 CBC §
14
          1127B.3; 2019 CBC § 11B-216.6. (Directional signage.) There is no
15
16        directional signage showing an accessible path of travel to an accessible
17        entrance. Plaintiff faces an increased risk of injury if Plaintiff is required to
18
          backtrack because Plaintiff cannot find an accessible entrance into the
19
20        business/building. Thus, Plaintiff requires clear signage directing him to any
21        accessible entrance(s). Accessible entrances should be marked with an
22
          International Symbol of Accessibility.
23
24
25
          VIOLATION of 2010 CBC § 1129B.4; 2019 CBC § § 11B-502.8, 11B-
26
          502.8.2. (Off-street unauthorized parking sign – not posted.) The tow away
27
28
                                          7
                                      COMPLAINT
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 1        sign(s) (white sign stating that “UNAUTHORIZED VEHICLES PARKED
 2
          IN DESIGNATED ACCESSIBLE SPACES … WILL BE TOWED
 3
 4        AWAY”) must be posted in a conspicuous place at each entrance to an off-

 5        street parking lot (facility), or immediately adjacent to and visible from each
 6
          designated parking stall (space). The requisite sign(s) are not posted.
 7
 8        Plaintiff must use the designated disabled parking spaces and requires the
 9        proper protections of an access aisle and an accessible route of travel to
10
          safely access the Property. Clear signage that explicitly warns of the
11
12        consequences for improperly parking in the designated disabled parking
13        spaces will deter others without disabilities from parking there.
14
15
16
          VIOLATION of 1991 ADAS § 4.3.7; 2010 ADAS § 403.3; 2019 CBC §
17
18        11B-403.3. (Route/path of travel – cross slopes.) The cross slopes of the

19        route/path of travel are greater than two percent (2%). It is difficult for
20
          Plaintiff to travel on surfaces with excess slopes. Plaintiff is at risk of falling
21
22        when there are surfaces with excess slopes. The presence of excess slopes

23        denied Plaintiff full and equal use or access during Plaintiff’s visits by
24
          making it difficult and/or uncomfortable for Plaintiff to traverse the
25
26        property/route. The barrier also deterred/deters Plaintiff from visiting the

27        Property because it would make it difficult and/or uncomfortable for
28
                                         8
                                     COMPLAINT
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 1        Plaintiff to walk/traverse the property/route.
 2
 3
 4        VIOLATION of 1991 ADAS §§ 4.5.2, 4.6.8; 2010 ADAS §§ 302.1, 303.1,

 5        303.2, 303.3, 303.4; 2010 CBC §§ 1120B.2, 1133 B.7.1, 1133B.7.4; 2019
 6
          CBC §§ 11B-303.1, 11B-303.2, 11B-303.3, 11B-303.4, 11B-303.5. (Abrupt
 7
 8        changes in level; uneven ground surface.) Floor and ground surfaces shall be
 9        stable, firm, and slip resistant. Changes in level of 1/4 inch high maximum
10
          shall be permitted to be vertical and without edge treatment. Changes in
11
12        level between ¼-inch high minimum and ½-inch high maximum shall be
13        beveled with a slope not steeper than 1:2. Changes in level greater than 1/2
14
          inch high shall be ramped. The route of travel, including from the designated
15
16        disabled parking space to the entrance of the building/business, have an
17        uneven ground surface with changes in level exceeding one-half inch (1/2")
18
          (and no ramps are provided). The route of travel has damaged ground which
19
20        is not flush or flat. The ground has pavement distresses. The types of
21        pavement distresses which exist include but are not limited to: alligator
22
          (fatigue) cracking; joint reflection cracking; raveling; stripping; corrugation
23
24        and shoving; and depressions. These pavement distresses are made worse
25
          and exacerbated by design elements which do not follow the ADAAG.
26
          These areas should be fixed immediately because they pose a tripping and/or
27
28
                                        9
                                    COMPLAINT
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  1        falling hazard. Plaintiff, a cannot safely and fully enjoy the premises when
  2
           such conditions are present. These excess changes in level and uneven
  3
  4        ground surfaces pose risks to Plaintiff, including that Plaintiff’s foot, may

  5        catch on the uneven ground causing Plaintiff to fall. These abrupt changes in
  6
           level pose an increased risk of danger to Plaintiff, as Plaintiff is more likely
  7
  8        to trip/fall than someone without disabilities. The excess changes in level
  9        (i.e., uneven ground) denied Plaintiff full and equal use or access during each
 10
           of Plaintiff’s visits by making it difficult/harder and more dangerous for
 11
 12        Plaintiff to traverse the property/route. The excess changes in level (i.e.,
 13        uneven ground) also deterred/deters Plaintiff from visiting the Property
 14
           because it would be difficult/harder and more dangerous for Plaintiff to
 15
 16        traverse the property/route.
 17
 18
           VIOLATION of 2010 CBC § 1133B.7.1; 1991 § ADAS § 4.3.8. (Walks/
 19
 20        sidewalks – changes in level.) The walk leading into the business does not
 21        have a continuous common surface because there are abrupt changes in level
 22
           of more than one-half inch (1/2"). Plaintiff cannot fully enjoy the premises
 23
 24        because these conditions pose a risk that, among other things, Plaintiff may
 25
           fall and/or that Plaintiff’s foot may become trapped in an uneven surface.
 26
 27
 28
                                         10
                                      COMPLAINT
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  1        VIOLATION of 2010 ADAS § 502.2; 2010 CBC § 1129B.3; 2019 CBC §
  2
           11B-502.2. (Length of designated disabled parking space.) The designated
  3
  4        disabled parking space measures/measured less than eighteen feet (18') long,

  5        which made (would make) it difficult for Plaintiff to use the designated
  6
           space, and which denied (would deny) plaintiff full and equal use and access
  7
  8        of the full length of the required space. The paint used for the accessible
  9        parking space lines are so faded and worn that it is difficult to identify the
 10
           actual dimensions of the space. Plaintiff cannot safely park and disembark
 11
 12        from the vehicle when adequate space is not provided. Plaintiff needs to be
 13        able to use the designated disabled parking space, which should be located
 14
           closest to the entrance and linked to an accessible route of travel, because it
 15
 16        is more difficult for Plaintiff, as opposed to non-disabled persons, to
 17        maneuver about the Property.
 18
 19
 20
           VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.3.2; 2010 CBC §
 21
 22        1129B.3; 2019 CBC § 11B-502.3.2. (Length of adjacent access aisle.) The

 23        access aisle adjacent to the designated disabled parking space is/was less than
 24
           eighteen feet (18') long (which is also the required length of the designated
 25
 26        disabled parking space), which denied (would deny) plaintiff full and equal

 27        use and access of the full length of the required access aisle. Plaintiff needs
 28
                                         11
                                      COMPLAINT
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  1        extra space to be able to safely exit the vehicle. When the access aisle is too
  2
           small, Plaintiff has difficulty disembarking from the vehicle, which poses a
  3
  4        greater risk of injury to Plaintiff and can also cause humiliation and/or

  5        frustration.
  6
  7
  8        VIOLATION of 1991 ADAS §§ 4.3.7, 4.8.1; 4.8.4(2), 4.8.4(3); 2010 ADAS
  9        § 403.3; 2010 CBC §§ 1133B.5.4.2, 1133B.5.4.6; 2019 CBC § 11B-403.3.
 10
           (Excess slopes; no compliant ramp.) The route(s) of travel has/have slopes
 11
 12        greater than 1:20 (5%), but there is no compliant ramp (with appropriate
 13        level ramp landings at the top and bottom of each ramp). It is difficult for
 14
           Plaintiff to walk on sloped surfaces that do not provide the safety features of
 15
 16        a compliant ramp. These excess changes in level pose risks to Plaintiff,
 17        including that Plaintiff may fall. The lack of a complaint ramp, with its
 18
           attendant safety/accessibility features, denied Plaintiff full and equal use or
 19
 20        access during his visits by making it difficult/harder for Plaintiff to traverse
 21        the property/route.
 22
 23
 24        VIOLATION of 2010 CBC § 1118B.1; 2019 CBC § 11B-403.5.1; 1991
 25
           ADAS § 4.2.1; 2010 ADAS § 403.5.1. (Lack of clear floor space.) The
 26
           width of the aisles inside the business is too narrow and is obstructed at
 27
 28
                                         12
                                      COMPLAINT
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  1        multiple locations. The clear width for aisles shall be thirty-six (36") inches
  2
           minimum if serving elements on only one side, and forty-four (44") inches
  3
  4        minimum if serving elements on both sides. Here, in aisles with elements on

  5        both sides, the width measures less than forty-four (44") inches. Plaintiff has
  6
           difficulty ambulating when the aisles are not wide enough.
  7
  8
  9        VIOLATION of 1991 ADAS § 4.1.2(7); 2010 ADAS § 216.6; 2010 CBC §
 10
           1127B.3; 2019 CBC § 11B-216.6. (Directional signage.) There is no
 11
 12        directional signage showing an accessible path of travel to an accessible
 13        entrance. Plaintiff faces an increased risk of injury if Plaintiff is required to
 14
           backtrack because Plaintiff cannot find an accessible entrance into the
 15
 16        business/building. Thus, Plaintiff requires clear signage directing him to any
 17        accessible entrance(s). Accessible entrances should be marked with an
 18
           International Symbol of Accessibility.
 19
 20
 21        VIOLATION of 2010 ADAS § 216.6, 1991 ADAS § 216.6, 2016 CBC §
 22
           11B-216.6. (Accessible entrance.) In buildings where not all entrances are
 23
 24        accessible, the entrance(s) that are accessible and usable by persons with
 25
           disabilities must be identified. There is no International Symbol of
 26
           Accessibility at the front entrance. There is no directional signage at
 27
 28
                                         13
                                      COMPLAINT
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  1          inaccessible entrances to indicate the route to the nearest accessible entrance.
  2
  3
  4          21.    Plaintiff personally encountered the foregoing barriers, conditions,

  5   and/or violations.
  6
             22.    These barriers, conditions, and/or violations denied Plaintiff full and
  7
  8   equal access, and caused him difficulty, humiliation, and/or frustration.
  9          23.    The barriers, conditions, and/or violations existed during each of
 10
      Plaintiff’s visits in 2021.
 11
 12          24.    Defendants knew that the foregoing architectural barriers prevented
 13   access. Plaintiff will prove that Defendants had actual knowledge that the
 14
      architectural barriers prevented access, and that the noncompliance with the ADA
 15
 16   Standards for Accessible Design (ADAS), ADA Accessibility Guidelines for
 17   Buildings and Facilities (ADAAG), and/or the California Building Code (CBC)
 18
      was intentional.
 19
 20          25.    Plaintiff intends and plans to visit the Property again soon. Currently,
 21
      Plaintiff is reasonably deterred from returning to Defendants’ public
 22
      accommodation facilities because of the knowledge of barriers to equal access,
 23
 24   relating to Plaintiff’s disabilities, that continue to exist at the Property.
 25
             26.    Defendants have failed to maintain in working and useable condition
 26
      those features necessary to provide ready access to persons with disabilities.
 27
 28
                                            14
                                         COMPLAINT
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  1         27.    Defendants have the financial resources (i.e., financial ability) to
  2
      remove these barriers without much expense or difficulty in order to make the
  3
  4   Property more accessible to their mobility impaired customers (i.e., disabled

  5   persons). The removal of these barriers is readily achievable. The United States
  6
      Department of Justice has determined that removal of these types of barriers is
  7
  8   readily achievable.
  9         28.    Defendants refuse to remove these barriers.
 10
            29.    On information and belief, Plaintiff alleges that Defendants’ failure to
 11
 12   remove these barriers was/is intentional, because the barriers are logical and
 13   obvious. During all relevant times, Defendants had authority, control, and
 14
      dominion over these conditions. Thus, the absence of accessible facilities was/is
 15
 16   not a mishap; it was/is the result of intentional actions or inaction.
 17         30.    These barriers to access are described herein without prejudice to
 18
      Plaintiff citing additional barriers to access after further inspection by Plaintiff’s
 19
 20   agents and/or experts. See Doran v 7-ELEVEN, Inc., 524 F.3d 1034 (9th Cir. 2008)
 21
      (holding that once a plaintiff encounters one barrier at a site, a plaintiff can sue to
 22
      have all barriers that relate to his or her disability removed, regardless of whether
 23
 24   he or she personally encountered them).
 25
                  IV. FIRST CAUSE OF ACTION: VIOLATION OF THE
 26
                    AMERICANS WITH DISABILITIES ACT OF 1990
 27
 28
                                           15
                                        COMPLAINT
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  1                                  (42 U.S.C. § 12101, et seq.)
  2
                                      (Against All Defendants)
  3
  4             31.   Plaintiff alleges and incorporates by reference each and every

  5   allegation contained in all prior paragraphs of this complaint.
  6
                32.   Title III of the ADA prohibits discrimination against any person on the
  7
  8   basis of disability in the full and equal enjoyment of the goods, services, facilities,
  9   privileges, advantages, or accommodations of any place of public accommodation
 10
      by any person who owns, leases, or operates a place of public accommodation. 42
 11
 12   U.S.C. § 12182(a).
 13             33.   Defendants discriminated against Plaintiff by denying him “full and
 14
      equal enjoyment” and use of the goods, services, facilities, privileges, and/or
 15
 16   accommodations they offered during each visit, and each incident of a deterred
 17   visit.
 18
                34.   The acts and omissions of Defendants herein were/are in violation of
 19
 20   Plaintiff’s rights under the ADA and the regulations codified at 28 C.F.R. Part 36,
 21
      et seq.
 22
                35.   Pursuant to the ADA, discrimination is a “failure to make reasonable
 23
 24   modifications in policies, practices or procedures, when such modifications are
 25
      necessary to afford goods, services, facilities, privileges, advantages or
 26
      accommodations to individuals with disabilities, unless the entity can demonstrate
 27
 28
                                            16
                                         COMPLAINT
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  1   that making such modifications would fundamentally alter the nature of such goods,
  2
      services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §
  3
  4   12182(b)(2)(A)(ii).

  5         36.    The ADA requires removal of architectural barriers in existing
  6
      facilities where such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv)
  7
  8   (“discrimination includes … a failure to remove architectural barriers, and
  9   communication barriers that are structural in nature, in existing facilities, … where
 10
      such removal is readily achievable”). The term “readily achievable” is defined as
 11
 12   “easily accomplishable and able to be carried out without much difficulty or
 13   expense.” 42 U.S.C. § 12181(9). Barriers are defined by reference to the ADA
 14
      Standards for Accessible Design (ADAS), found at 28 C.F.R. Part 36, including the
 15
 16   ADA Accessibility Guidelines for Buildings and Facilities (ADAAG), at Part 36,
 17   Appendix A.
 18
            37.    If removal of any barrier is not readily achievable, a failure to make
 19
 20   goods, services, facilities, or accommodations available through alternative
 21
      methods is also prohibited if the alternative methods are readily achievable. 42
 22
      U.S.C. § 12182(b)(2)(A)(v).
 23
 24         38.    Defendants can remove the architectural barriers at their facility
 25
      without much difficulty or expense. Defendants violated the ADA by failing to
 26
      remove the barriers because removal was readily achievable. For instance, there
 27
 28
                                         17
                                      COMPLAINT
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  1   are companies which can repaint parking areas for as little as $350. Defendants can
  2
      afford such costs, which are a fraction of what Defendants receive in (rental or
  3
  4   business) profits in connection with such a large and expensive property.

  5         39.    Alternatively, if it was not “readily achievable” for Defendants to
  6
      remove barriers at their facilities, Defendants violated the ADA by failing to make
  7
  8   their services available through alternative methods which are readily achievable.
  9         40.    On information and belief, Plaintiff alleges that the facility was altered
 10
      after January 26, 1992, mandating compliance with accessibility requirements
 11
 12   under the ADA.
 13         41.    The ADA requires that facilities altered in a manner that affects or
 14
      could affect their usability must be made readily accessible to individuals with
 15
 16   disabilities to the maximum extent feasible. 42 U.S.C. § 12183(a)(2).
 17         42.    Defendants altered the facilities at the Property in a manner that
 18
      violated the ADA, and/or failed to make the Property readily accessible to
 19
 20   physically disabled persons to the maximum extent feasible.
 21         43.    The ADA also requires reasonable modifications in policies, practices,
 22
      or procedures, when such modifications are necessary to afford goods, services,
 23
 24   facilities, privileges, advantages, or accommodations to individuals with
 25
      disabilities, unless the entity can demonstrate that making such modifications
 26
      would fundamentally alter the nature of such goods, services, facilities, privileges,
 27
 28
                                          18
                                       COMPLAINT
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  1   advantages, or accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
  2
            44.    Defendants violated the ADA by failing to make reasonable
  3
  4   modifications in policies, practices, or procedures at the Property when these

  5   modifications were necessary to afford (and would not fundamentally alter the
  6
      nature of) the goods, services, facilities, privileges, advantages, or accommodations.
  7
  8         45.    Plaintiff seeks a finding from this Court that Defendants violated the
  9   ADA, so that he may pursue damages under California’s Unruh Civil Rights Act.
 10
            46.    Here Defendants’ failure to make sure that accessible facilities were
 11
 12   available to, and ready to be used by, Plaintiff was/is a violation of law.
 13         47.    Plaintiff would like to continue to frequent the Property, which is close
 14
      to his home. However, he is deterred from doing so because he has been
 15
 16   discriminated against and is aware of accessibility barriers at the Property.
 17         48.    Among the remedies sought, Plaintiff seeks an injunction order
 18
      requiring compliance with federal and state disability access laws, and remediation
 19
 20   of the existing access violations (i.e., removal of the existing barriers) at the
 21
      Property.
 22
                  V. SECOND CAUSE OF ACTION: VIOLATION OF THE
 23
 24                              UNRUH CIVIL RIGHTS ACT
 25
                                    (Cal. Civ. Code §§ 51-53)
 26
                                     (Against All Defendants)
 27
 28
                                           19
                                        COMPLAINT
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  1          49.    Plaintiff repleads and incorporates by reference, as though fully set
  2
      forth herein, the allegations contained in all prior paragraphs of this complaint.
  3
  4          50.    California Civil Code § 51 states, in part: “All persons within the

  5   jurisdictions of this state are entitled to the full and equal accommodations,
  6
      advantages, facilities, privileges, or services in all business establishments of every
  7
  8   kind whatsoever.”
  9          51.    California Civil Code § 51 also states, in part: “No business
 10
      establishment of any kind whatsoever shall discriminate against any person in this
 11
 12   state because of the disability of the person.”
 13          52.    California Civil Code § 51(f) specifically incorporates, by reference,
 14
      an individual’s rights under the ADA into the Unruh Civil Rights Act (UCRA).
 15
 16          53.    The UCRA also provides that a violation of the ADA, or California
 17   state accessibility regulations, is a violation of the UCRA. Cal. Civ. Code § 51(f);
 18
      see Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439 (N.D. Cal.
 19
 20   1994).
 21          54.    Defendants’ above-mentioned acts and omissions have violated the
 22
      UCRA by denying Plaintiff his rights to full and equal use of the accommodations,
 23
 24   advantages, facilities, privileges, and services they offer, on the basis of Plaintiff’s
 25
      disability.
 26
             55.    Defendants’ above-mentioned acts and omissions have also violated
 27
 28
                                           20
                                        COMPLAINT
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  1   the UCRA by denying Plaintiff his rights to equal access pursuant to the ADA; and,
  2
      thus, Defendants are liable for damages. See Cal. Civ. Code § 51(f), 52(a).
  3
  4         56.   Because Defendants’ violation of the UCRA resulted in difficulty,

  5   discomfort, and/or embarrassment for Plaintiff, Defendants are each also
  6
      responsible for statutory damages. See Cal. Civ. Code § 55.56(a), (c).
  7
  8   //
  9   //
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                                      COMPLAINT
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  1         57.      Plaintiff was (actually) damaged by Defendants’ wrongful conduct.
  2
      He seeks actual damages, and statutory minimum damages of four thousand dollars
  3
  4   ($4,000) for each offense (i.e., for each occasion that Plaintiff was denied full and

  5   equal access).
  6
                                     PRAYER FOR RELIEF
  7
  8         WHEREFORE, Plaintiff prays for judgment against Defendants, as follows:
  9         1. For injunctive relief compelling Defendants to comply with the
 10
                  Americans with Disabilities Act and the Unruh Civil Rights Act. Note:
 11
 12               Plaintiff is not invoking section 55 of the California Civil Code and is not
 13               seeking injunctive relief under the Disabled Persons Act.
 14
            2. Damages under the Unruh Civil Rights Act, which provides for actual
 15
 16               damages and statutory minimum damages of $4,000 per each offense.
 17         3. Reasonable attorney fees, litigation expenses, and costs of suit, pursuant
 18
                  to 42 U.S.C. § 12205, and Cal. Civ. Code § 52.
 19
 20                                      JURY DEMAND
 21
            Plaintiff demands a trial by jury on all issues so triable.
 22
      Dated: January 21, 2022            THE LAW OFFICE OF HAKIMI & SHAHRIARI
 23
                                         By:   /s/ Peter Shahriari
 24                                            PETER SHAHRIARI, ESQ.
 25                                            Attorney for Plaintiff Shawn Bedwell

 26
 27
 28
                                            22
                                         COMPLAINT
